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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA,
Plaintiff. Crim. No. H-04-25 (Lake, J.)
V.

RICHARD A. CAUSEY, JEFFREY K.
SKILLING, and KENNETH L. LAY

Defendants.

DEFENDANT JEFFREY SKILLING’S MEMORANDUM IN SUPPORT OF
JOINT MOTION TO TRANSFER VENUE

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Preliminary Statement

Houston, we have a problem.

Over “*200 years of human experience in the endless quest for the fair administration of
criminal justice’ teaches that there are cases in which only a change of venue is constitutionally
sufficient to assure an impartial jury.”' This is one such case. We respectfully submit that
Jeffrey Skilling's trial must be transferred to another metropolitan venue, such as Phoenix,
Denver, or Atlanta. Absent a change in venue, Skilling and his co-defendants cannot receive a
fair trial because:

e unlike any other venue, residents of Houston and its surrounding communities have a
personal, emotional, and economic stake in this case resulting from Enron’s dramatic rise
and fall and the profound effect the company had on the region’s recent history;

e unlike any other venue, the media in Houston has covered the demise of Enron and the
ensuing criminal prosecutions with a fervent, inflammatory, and demonstrably prejudicial
point of view;

e unlike any other venue, Skilling and his co-defendants have been so uniformly vilified
and demonized in the Houston area that they are widely presumed to be guilty until
proven innocent; and

e unlike any other venue, voir dire and other lesser remedies will be wholly inadequate to
eliminate the pervasive latent biases that exist in Houston against Skilling and his co-

defendants.

Rarely, if ever, has there been a more compelling case for a change of venue. In 2001,
Enron Corporation—once the seventh largest company in the world, and the shining beacon of
Houston’s economic resurgence—suddenly, surprisingly, and spectacularly collapsed. The
effect on Houstonians and those in the surrounding counties was immediate and devastating.

Thousands lost their jobs; many more lost their savings; local business owners suffered;

"2 CHARLES A. WRIGHT, FEDERAL PRACTICF & PROCEDURE: CRIMINAL § 342, at 383-84 (3d ed. 1999)
(quoting Groppi v. Wisconsin, 400 U.S. 505, 510-11 (1971).
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hundreds of creditors, large and small, went unpaid; employees in related or dependent
businesses were laid off; the commercial real estate market collapsed; spending plummeted; local
charities lost their funding. Nearly everyone felt a sense of betrayal.” In good times, Enron was
a deep source of pride to the Houston community. In the shadow of its bankruptcy, Enron
became a badge of dishonor and object of public opprobrium.

Citizens of this venue and the media that serve them have erected metaphoric and
psychological divides between the “evil” executives at Enron and the “good” people they
betrayed. Hardly a disparaging adjective (opulent, greedy, lying, disgusting, revolting),
incendiarv characterization (rapist. crook, axe-murderer, terrorist, child molester). comparison to
a notorious villain (Satan, Al Qaeda, Hitler, Darth Vader, O.J. Simpson). or analogy to local or
national tragedy (1980s oil bust, September 11, the Kennedy Assassination) has been spared
when describing Enron, Skilling. his co-defendants. and the collapse of the company they built

In keeping with their “good versus evil” portrayals, the Houston media has told the
human-interest stories of countless Enron victims. documented charitable efforts to aid their
recovery, and fostered forums for venting their anger. They have praised the Enron Task Force,
describing its lawyers as “premier prosecutors,” “smart,” “dedicated.” “energetic,”
“handpicked,” “up-and-coming,” and honest as “Boy and Girl Scouts.’ The Task Force’s
cooperating witnesses, though confessed thieves and criminals, are lauded as knowledgeable and

unflappable.”

See generally Declaration of Dr. Stephen Klineberg ("Klineberg”) (sociologist).

* See generally Declaration of Russell Scott Armstrong (“Armstrong”) (media expert); Declaration of David J.
Marroso (“Marroso”) Exs. 1-4, 6-13 (collecting various sources with statements in parentheticals); Declaration
of Dr. Philip Anthony (“Anthony”) (polling expert) Ex. 3 at Houston Response Nos. 35, 124, 129.

4 Marroso Exs. 14-15 (Houston Chronicle),

* See Multimedia DVD Presentation, Armstrong Ex. 26 (for rough abstract, see Marroso Ex. 16); Marroso Ex.
15 (Heuston Chronicle).
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In stark contrast stands Skilling. In the Houston Chronicle, the area’s dominant
newspaper. Skilling’s public testimony is described as “unbelievable” and “b.s.”° The
newspaper has shown little restraint in publishing inflammatory stories and letters about Skilling,
signaling that the community has already made up their minds:

e “A poll of the American people would find more sympathy for John Walker Lindh than
for the senior management of Enron and Arthur Andersen.”

e “Skilling is ripping my heart out with his comments... . [H]e’ll be hard-pressed to find
anyone who believes he was that ignorant. I think he was shrewd.”

e “From where I sit. Skilling should have been meeting with the “three serious-looking
suits’ [his lawyers] in a Huntsville mess hall instead of on the patio at LaGriglia.”

e “I become more disgusted daily with the reports on former Enron chief Jeff Skilling and
his wife, Rebecca Carter.... [They] will find no good will in my household.”

e “[ hope [Skilling] winds up in jail .... My guess is he will be led off in handcuffs. and
when that happens the people who worked at Enron will feel that it didn’t come soon

enough.”
At the same time. the media has cheered on the prosecution by such unprecedented devices as
the “Prosecution Scorecard.” which appears on the Chronicle website and tallies which Enron
executives have been charged, convicted, or pled guilty.*

With a constant flow of one-sided stories and misinformation, the animus is not abating.
Just weeks ago. in a poll and survey of venirepersons conducted by jury expert Dr. Philip
Anthony, Houstonians offered the following descriptions when asked, “What words come to

mind when you hear the name Jeff Skilling?”

° Marroso Ex. 17-18 (Houston Chronicle).
” Marroso Exs, 21-25 (Houston Chronicle).

® Marroso Ex. 19 (Houston Chronicle website). Most recently, when the jury’s verdict came down in the
Nigerian Barges trial, the Chronicle noted that the acquittal of mid-level Enron accountant Sheila Kahanek
“was the first to appear in the prosecutors’ loss column.” Marroso Ex. 20 (Houston Chronicle).

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e “Pig. Snake. A snake is slithery and sneaky. A pig is dirty. Anybody that would do
what he did is dirty.”

e “Evil. That he is an evil person.”

e “Liar. Lecherous. Fraud. Thief. He stole from employees. He stole their pension plans.
He is not an honest man. He is a crook and a criminal.”

e “Crook, asshole, no good, thief. I think he swindled a lot of people.”

e “Jeff Skilling is a crook. All the Enron executives were white collar crooks. Enron was
the most deceitful company in US history.”

e “Ihave only two words to explain all of the people involved in Enron and I will not

expand further: economic terrorists.””

Against this backdrop in Houston. the Task Force seeks to put Skilling on trial for his
life.” Rightly or wrongly, and whether or not they have heard of the defendants before being
empanelled, jurors from this venue will find it exceedingly difficult, if not impossible, to vote to
acquit Skilling and his co-defendants without running the risk of being perceived as pariahs
among their friends. families, and co-workers. They will be hard-pressed to ignore community
pressures, overcome a natural need for community acceptance, and resist their desire to validate
community expectations.'! This is asking too much of them.

Voir dire cannot solve these problems, nor can the most careful jury instructions. The
risk of bias and the need to avoid even the appearance of its taint are so obvious that the entire

U.S. Attorney's office for the Southern District of Texas recused itself from this case—not just

, Anthony Ex. 3 at Houston Response Nos. 7, 8, 35, 195, 232, 239; see also generally Declaration of Dr.
Edward Bronson (“Bronson”) (social scientist).

'° The Task Force also plans to ask a Houston jury to strip Skilling of his property so it can be contributed to
the Enron Victims’ Fund, publicly touted as benefiting local shareholders, employees, and other perceived
victims of Enron’s collapse. Marroso Exs. 207-208, 213-216 (Houston Chronicle).

'' Klineberg Decl. {f 16-20. Skilling and his co-defendants are also decidedly unlike the lone Enron defendant
acquitted in the Barge trial. While Skilling, Lay, and Causey are viewed as the personification of Enron,
Sheila Kahanek was an accountant who was not an Enron executive; worked at Enron a short time, and had
minimal involvement in the single transaction at issue in the Barges trial. Anthony Decl. 4 29.
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those prosecutors with connections to Enron.’* If skilled professionals cannot be expected to put
aside their prejudices and allegiances, 12 lay jurors, however well intentioned, cannot.

Venue in this case must be transferred to a convenient, comparable major metropolitan
venue like Phoenix, Denver, or Atlanta, where public attention has been less frequent,
penetrating. and severe. As Skilling’s polling expert, media expert, social scientists, and
economist all attest, Enron’s collapse had unique effects on Houston, received overwhelming
attention there, and engendered far greater and deeper animus toward Skilling and his co-
defendants than in any other venue. In Houston. the trial of Skilling and his co-defendants is the
“main event.” and the media and public “can’t wait.“'? Elsewhere, Enron and the case have

faded to back-page news:

Front Page Enron Articles - 2004

# articles

m Houston Chronicle @ Anzona Republic @ Rocky Mountain News © Denver Post m Atlanta Journal-Constitution

Although transfer of this case would spark local interest in any new venue, the trial will not have

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the same community significance and impact as in Houston.” Houston has a vested interest in

'? Marroso Ex. 26-27 (press release; Houston Chronicle).

'? Marroso Ex. 28 (Sept. 2004 Houston Chronicle story naming Skilling the “Ultimate Enron Defendant’;
saying “[wJe can’t wait for the trial”).

'* All references to “Houston,” “Houstonians,” “the Houston area,” or the “Houston venire or jury pool” mean
the city of Houston and the 13 surrounding counties that collectively comprise the jury pool for the Houston
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the outcome of this case. Polling data, media analyses, social science, and common sense all
confirm that Houston stands alone in this regard.

To assist the Court in evaluating the prejudice that exists in Houston, Skilling has
provided expert reports from: (a) Dr. Stephen Klineberg, a renowned Houston sociologist who
places Enron’s bankruptcy in social and historical context and analyzes the social pressures that
necessarily influence Houston jurors; (b) Dr. Philip Anthony, a national polling and jury research
expert who conducted a comparative study of relevant community attitudes in Houston, Phoenix,
Denver, and Atlanta; (c) Mr. Russell Scott Armstrong, a media expert who qualitatively and
quantitatively compares Houston media coverage to the coverage in other venues (we have also
included a short DVD for the Court's review, to aid in demonstrating Mr. Armstrong’s
conclusions): (d) Dr. Edward Bronson, a social scientist and expert on the attitudes and behavior
of jurors, who concludes that members of Houston jury pool are significantly more likely than
their peers in Phoenix, Denver, or Atlanta to convict Skilling for reasons other than the evidence
properly admitted at his trial; and (e) Mr. Roy Weinstein. an economist who discusses the vested
economic interest many Houstonians have—or might perceive they have—in convicting Skilling
and his co-defendants.

In the remainder of this memorandum, Section | discusses the legal principles governing
venue motions and identifies the salient facts on which courts focus in deciding whether to grant
such motions. Section II demonstrates that this is a case where virtually every relevant fact
favors a change in venue. Section III explains why voir dire would be an ineffective and
inefficient remedy to cure the prejudice. Finally, Section IV summarizes the reasons why

Phoenix, Denver, and Atlanta are appropriate alternative venues.

Division of the United States District Court for the Southern District of Texas. Similarly, all references to
“Denver,” “Phoenix,” or “Atlanta” likewise mean the jury pools in the respective district court divisions in
which those cities lie.
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I. THE LEGAL PRINCIPLES GOVERNING VENUE MOTIONS AND THE
SALIENT VENUE FACTS THAT INFORM THE COURT’S ANALYSIS.

Federal courts have three sources of authority to grant an infer-district venue change: the
Sixth Amendment to the Constitution; Federal Rule of Criminal Procedure 21(a); and the Court’s
inherent supervisory powers.’ The Constitution and Rule 21 mandate a venue change where
outside influences, such as pretrial publicity, operate to prejudice a defendant and prevent him
from obtaining a fair trial.'° Where outside influences might cast doubt on the perceived fairness
of a trial—and there is even the possibility that a constitutional violation will occur—the Court
has the discretion to order such a transfer pursuant to Rule 21 and its supervisory powers."

Prejudice warranting a prospective change of venue can be shown in different ways. '®

' Rule 18 governs intra-district transfers; we do not request such a transfer at this time.

° See, e. g., FED. R. CRIM. P. 21(a) ("Upon defendant's motion the court mus? transfer the proceeding against
that defendant to another district if the court is satisfied that so great a prejudice against defendant exists in the
transferring district that the defendant cannul obtain a fair and impartial trial there.”) (emphasis added);
Sheppard v. Maxwell, 384 U.S. 333. 363 (1966) (right to due process violated where there was “a reasonable
likelihood” that publicity and other outside influences prevented a fair trial in the venue in which a crime
occurred) (emphasis added).

" See, e.g.. United States v. Williams, 523 F.2d 1203, 1209 n.t1 (5th Cir. 1975) (comparing Rule 21 standard
to the “due process standards [that] place a bottom line on the discretion exercisable by the district court”):
United States v. Moody, 762 F. Supp. 1485, 1490 & n.6 (N.D. Ga. 1991) (describing the “supervisory powers”
test articulated by the Supreme Court as a “more exacting fairness standard on this issue”) (citing Marshall v.
United States, 360 U.S. 310 (1959); Murphy v. Florida, 421 U.S. 794 (1975)); see also United States v.
Wright, Case No. 401CR3040, 2002 WL 842208, at *9-10 (D. Neb. May 3, 2002) (it is “clear error” to
evaluate venue change request only under “due process standard”; a court must also evaluate such a motion
under the “less stringent” supervisory powers test).

'® Because voir dire and a trial have yet to occur here, this motion requires a showing of presumed prejudice
and a prospective look at the Houston jury pool that Skilling faces. In the case law, there are three ways to
show “prejudice” sufficient to warrant a venue change (or reversal on appeal). The first way, which is the
standard to be applied here, works prospectively and requires a defendant to establish that prejudice can be
presumed generally in the venue in which he is to be tried. See, e.g., McVeigh, 918 F. Supp. at 1472 (prejudice
presumed among Oklahoma jury pool; case transferred to Denver before voir dire and trial occur); United
States v. Abrahams, 466 F. Supp. 552, 558 (D. Mass. 1978) (“I am, however, concerned that the publicity in
the Boston area, once the headquarters of (defendant’s company] and now the seat of [a criminal fraud trial]
concerning its operations. has been so consistent and pervasive that selection of a fair and impartial jury would
be quite difficult... .”; case transferred to Phoenix before voir dire); see also ABA STANDARDS FOR
CRIMINAL JUSTICE FAIR TRIAL & FREE PRESS, Standard 8-3.3, at 35-39 (3d ed. 1991). Other, inapplicable
tests are retrospective, and require a defendant to show on appeal that actual prejudice infected his trial, see,
e.g., Marshall, 360 U.S. at 311-13 (jurors” exposure to newspaper articles about defendant, which refuted his
defense of entrapment, caused actual prejudice; new trial ordered). or that prejudice should be presumed
among the jury that found him guilty. See, e.g., Rideau v. Louisiana, 373 U.S. 723. 725-27 (1963)
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First, prejudice is presumed if “inflammatory pretrial publicity [has] literally saturated the
community in which [defendant's] trial was held,” or ifa defendant demonstrates “that outside
influences affecting the community's climate of opinion as to a defendant are inherently
suspect.””’? Second, prejudice is presumed where a community has decided that, for justice to be
done, the defendant must be convicted and punished in a certain way. Third, as District Judge
Matsch explained in the Oklahoma City bombing case, prejudice is presumed where “the
repetition of emotionally intense stories of loss and grief and the valiant efforts to overcome the
consequences” have engendered the “common belief” that “only a guilty verdict” and a
punishment commensurate with the crime (there, death) will bring the community closure to its
pain.” Here, of course, all three measuring sticks result in the same conclusion: the Houston
community has been “saturated”; the “climate of opinion /s suspect”; and stripping Skilling and
of his liberty and property are stated goals of many within the Houston venire.”'

There are scores of cases evaluating venue-change requests and whether outside
influences surrounding a trial were prejudicial. The cases analyze the salient issues from various
vantage points: on habeas review: on direct appeal; after a mistrial; after voir dire; and, as here,
before voir dire and trial.’ The procedural posture of these cases is critical. By seeking a

change of venue now, before a lengthy and expensive trial occurs, Skilling’s burden is lighter

(defendant’s due-process rights violated where trial court refused to change venue; local media broadcast video
recording of defendant's “confession”; Court does not examine record for actual prejudice, but presumes
community prejudice; conviction reversed); United States v. Capo, 595 F.2d 1086, 1091 (5th Cir. 1979)
(defendant must show trial was a “mockery of justice’).

'° Mayola v, Alabama, 62 F.2d 992, 997 (Sth Cir. 1980); Pamplin v. Mason, 364 F.2d 1,5 (5th Cir. 1966).

© McVeigh, 918 F. Supp. at 1472.

! See infra Part 11.

” See, e.g., Rideau, 373 U.S. at 725 (habeas review); United States v. Williams, 523 F.2d 1203 (Sth Cir. 1975)
(direct appeal); United States v. Sava, 980 F. Supp. 1157, 1157 (D. Hi. 1997) (after mistrial); /rvin v. Dowd,
366 U.S. 717, 727-28 (1961) (examining voir dire record on habeas review); United States v. Engleman, 489 F.
Supp. 48 (E.D. Mo. 1980) (before voir dire): McVeigh, 918 F. Supp. 1467 (same). Venue-related issues are
also touched upon in cases involving the media’s access to court records and proceedings. See, e.g., United
States v. Brown, 250 F.3d 907 (5th Cir. 2001) (court order attempting to keep jury anonymous violated First
Amendment); Associated Press v. United States District Court, 705 F.2d 1143 (9th Cir. 1983) (similar).

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than if he were challenging the fairness of his jury after trial. Hence, factors permeating cases in
different procedural postures, such as the high thresholds of review accorded to appeals and
habeas petitions, are not instructive.”*

Here, with the opportunity to act prospectively, the Court has a mandate to do everything
it can to ensure both the occurrence and the appearance of a fair trial:

[R]Jule [21] is preventative. It is anticipatory. It is not solely curative as is a post-
conviction constitutional attack. Thus, the rule evokes foresight, always a more
precious gift than hindsight, and for this reason the same certainty which warrants
the reversal of a conviction will not always accompany the change of venue.
Succinctly. then. it is the well-grounded fear that the defendant will not receive a
fair and impartial trial which warrants the application of the rule. Singer y. United
States, 380 U.S. 24, 35 (1965). As the Supreme Court recently stated in Sheppard
v. Maxwell, 384 U.S. at 363. venue should be changed “where there is a reasonable
likelihood that prejudicial news prior to trial will prevent a fair trial."

That ts not to say the burden imposed by Rule 21 and Sheppard and its progeny is not
heavy.” But it is not insurmountable: venue transfers have been approved or mandated in more

than 20 reported federal cases. These cases involve venues both small and large (including

Houston), as well as crimes violent, non-violent. and purely economic (as is alleged here).”°

* See, e.g., United States v. Haldeman, 559 F.2d 31, 62-63 (D.C. Cir. 1976) (discussing the rigid limits on an
appellate court’s power, as compared to the district court’s power, to hold that a venue transfer was warranted):
United States v. Gorel, 622 F.2d 100, 103 (Sth Cir. 1980) (refusing to find that the trial court erred as a matter
of law or abused its discretion). See also Busby v. Dretke, 359 F.3d 708, 725 (Sth Cir. 2004); United States v.
Dozier, 672 F.2d 531, 545-47 (Sth Cir. 1982).

** United States v. Marcello, 280 F. Supp. 510, 513-14 (E.D. La. 1968) (emphasis added; citations altered).

> See, e.g., Busby, 359 F.3d at 725; McVeigh, 918 F. Supp. at 1469 (limited to “extraordinary cases”).

>® See, e.g., Rideau, 373 U.S. 723 (Lake Charles, Louisiana; murder); Abrahams, 466 F. Supp. 552 (Boston;
financial fraud); United States v. Abrahams, 453 F. Supp. 749 (D. Mass. 1978) (inter alia, Boston and New
York; financial fraud); Johnson v. Beto, 337 F. Supp. 1371 (S.D. Tex. 1972) (Houston; “gift” of one marijuana
cigarette); Engleman, 489 F. Supp. 48 (St. Louis; murder); Nevers v. Ellinger, 990 F. Supp. 844 (E.D. Mich.
1997) (Detroit; murder); United States v. Ebens, 654 F. Supp. 144 (E.D. Mich. 1987) (Detroit; murder); United
States v. Florio, 13 F.R.D. 296 (S.D.N.Y. 1952) (New York City; racketeering case); United States v. Hoffa,
205 F. Supp. 710 (1962) (Orlando; mail and wire fraud); Coleman v. Kemp, 778 F.2d 1487 (11th Cir. 1985)
(rural Georgia town; violent murders); United States v. Holder, 399 F. Supp. 220 (D.S.D. 1975) (South
Dakota; assaulting federal officer); Marcello, 280 F. Supp. 510 (New Orleans; assaulting police officer);
United States v. Mazzei , 400 F. Supp. 17 (W.D. Pa. 1975) (Pittsburgh; state senator extorts funds); McVeigh,
918 F. Supp. 1467 (Oklahoma City; multiple murders/terrorism); Moody, 762 F. Supp. 1485 (Atlanta; multiple
murders); United States v. Parr, 17 F.R.D, 512 (S.D. Tex. 1955) (Corpus Christi; tax fraud); United States v.
Rossitter, 25 F.R.D. 258 (D.P.R. 1960) (Puerto Rico; unclear); Saya, 980 F. Supp. 1157 (Honolulu; drug

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Although courts caution that there are no hard-and-fast rules and that each case “must turn
on its own special facts,” a thorough analysis of the cases in this area gleans certain guiding
principles.”’ Courts consistently grant venue motions (or rule that a venue change was improperly
denied) where several of the following facts are present—all of which are present here:

1. there has been recent, widespread, vilifying media coverage regarding the defendant,

his alleged crimes, or other alleged misdeeds distinct from his alleged crimes;”*
2. “close attention” has been paid to pre-trial “procedural moves” in the defendant's
case; the facts of the alleged crime have been “continually repeated”; “every aspect
of [defendant’s] life [has] become] grist for the reporter’s mill”; there has been

pressure from the media to indict and convict the defendant, and the local populace

has a unique appetite for detailed stories regarding the case;

sales); United States v. Tokars, 839 F. Supp. 1578 (N.D. Ga. 1993) (Atlanta; murder); Wansley v. Miller, 353
F. Supp. 42 (E.D. Va. 1973) (Lynchburg. Virginia; rape); United Stutes ex. rel. Bloeth v. Denno, 313 F.2d 364,
374 (2d Cir. 1963) (en banc) (Suffolk County, New York; murder); United States v. Maad, 75 Fed. Appx. 599,
2003 WL 22098002 (9th Cir. Sept. 10. 2003) (unpublished) (Anchorage: fraud); see also Sheppard. 384 US.
333, 352-53, 355-63 (Cleveland; murder; venue change denied and judge failed to control publicity during
trial; conviction reversed); /rvin, 366 U.S. 717 (small Indiana community; murder; publicity prejudiced trial;
conviction reversed); Williams, 523 F.2d at 1208-09 (Atlanta; kidnapping; failure to transfer venue and
prosecutor's closing argument “together deprived defendant of fair trial”); United States v. Faulkner, \7 F.3d
745, 754-55 (5th Cir. 1994) (Dallas; bank fraud; noting district court transferred venue); United States v.
Anguilo, 497 F.2d 440, 442 (Ist Cir. 1974) (Boston; impeding a federal officer; noting district court transferred
venue based on “well-founded reservations about Angiulo’s ability to have a fair trial in Massachusetts” and
likely “deem[ed] it preferable to hold the trial in a district where there was less risk of reversible error from
problems associated with jury prejudice”); Pamplin, 364 F.2d at 7 (’The Irvin v. Dowd line [of] cases involves
capital crimes. We are of the view, however, that the same constitutional safeguard of an impartial jury is
available to a man denied his liberty—here two years—for a misdemeanor as for a felony”: granting habeas
and ordering venue change hearing).

7 Marshall, 360 U.S. at 312; see also WRIGHT, supra, § 342, at 380-82 (discussing various factors); Murphy’.
421 U.S. at 799 (totality of circumstances test); State v. Hoover, 594 S.W. 2d 743, 746 (Tenn. Crim App.
1979) (citing 17-factor test in 33 A.L.R. 1).

*8 See, e.g., Abrahams, 466 F. Supp. at 557 (“voluminous collection of newspaper articles . . . painted a black
and bleak picture of Mr. Abrahams”; defendant named “‘Turkey of the Year’ for his ‘scams against those
seeking scams’”); Abrahams, 453 F. Supp. at 752 (local newspapers contain “large-type sensational
headlines”); Tokars, 839 F. Supp. at 1581 (news stories number in thousands); Coleman, 778 F.2d at 1538
(stories published regarding defendants’ prior convictions).

” See, e.g., Williams, 523 F.2d at 1205-06 (close attention to procedural moves: grist for mill); Ebens, 654 F.
Supp. at 146 (‘continually repeated factual recitations”); Sheppard, 384 U.S. at 341 (newspaper headlines ask

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3. the crimes alleged are serious, have a unique effect on the local venue, and were
either horrifically violent, affected many, or involved a violation of public trust:*°

4. the defendant is viewed as the “linchpin” of the alleged crime or conspiracy:"

5. aheavy focus of the media coverage is placed on the alleged victims of the crimes;*”

6. the defendant's name or alleged crimes evoke strong emotional responses; 3

7. there are other venues where the publicity has been less prominent, pervasive, or
prejudicial, and thus, the defendant is less well known or reviled in those places;*”

8. jurors feel both a personal stake in the outcome of the case (either emotional or
economic), and that the defendant deserves a certain punishment;

9. jurors feel a sense of obligation to reach a particular result, and fear not being

“Why Isn’t Sam Sheppard in Jail?” and urged “Quit Stalling—-Bring Him In”); McVeigh, 918 F. Supp. at 1471
(Oklahomans want to know every detail of case; public in other venues follow story, but to much lesser
degree); Marcello, 280 F. Supp. at 517-18 (same).

* See, eg, McVeigh, 918 F. Supp. at 1471 (the "Oklahoma family”—not just the victims of the bombing and
their families—-were united in their anger and vengeance); Johnson, 337 F. Supp. at 1375-79 (Houston feels a
stake in convicting and severely punishing civil rights activist believed to be responsible for racial unrest);
Nevers, 990 F. Supp. at 862-64 (Detroit fears race riots if policemen not convicted for murdering suspect);
Mazzei.400 F. Supp. at 20 (Pittsburgh’s trust betrayed by state politician); Maad, 2003 WL 22098002 at *1-2
(Anchorage community betrayed by citizen who faked being the victim of a hate crime attack and then
accepted outpouring of public support); Florio, 13 F.R.D. at 298 (trial and media coverage related to trial
concern “a matter of peculiarly local interest”); Hoover, 594 S.W.2d at 746 (“severity of offense charged”).

*! Abrahams, 466 F. Supp. at 555; Johnson, 337 F. Supp. at 1375-78 (defendant prime source of racial unrest).

® See, e. g.. McVeigh, 918 F. Supp. at 1472 (“repetition of emotionally intense stories of loss and grief”;
“sympathy for victims is .. . strong”); bens, 654 F. Supp. at 144-46 (prominent story regarding bereaved
mother of murder victim).

3 See, e. g., McVeigh, 918 F. Supp. at 1472 (defendants “have been demonized”); Tokars, 839 F. Supp. at 1583
(defendant selected by smaller focal newspaper as “Best Local Villain”; polling shows jury pool prejudiced
against defendant); Holder, 399 F. Supp. at 228 (“deeply-felt prejudice” toward defendants).

* See, e.g., Marcello, 280 F. Supp. at 517-18; Sava, 980 F. Supp. at 1159; Florio, 13 F.R.D. at 299.

* See, e.g., McVeigh, 918 F. Supp. at 1473-74 (people of Oklahoma “feel a personal stake in the outcome”;
believe defendant deserves death penalty); Irvin, 366 U.S. at 725 (same); Washington Pub. Util. Group vy.
United States District Court, 843 F.2d 319, 327 (9th Cir. 1987) (court has duty to transfer highly publicized
civil case to avoid the financial self interest of potential jurors); see also United States v. Polchemi, 219 F.3d
698, 704 (7th Cir. 2000) ("a court must excuse a juror for cause. . . if the juror has even a tiny financial
interest in the case”); Ward v. Monroeville, 409 U.S. 57, 59-60 (1972) (conviction reversed where fact finder
had perceived financial interest in finding defendant guilty of crime).

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accepted by their community or their community being harmed if they acquit;*°

10. local officials or law enforcement officers have helped promote such beliefs:*”

11. there have been previous trials or highly publicized pleas involving the defendant or
his alleged conspirators, and the local media covered those events with particular
intensity and speculated how they would negatively affect the defendant’s case;**

12. there are highly publicized parallel legislative investigations or civil actions being
pursued by local citizens against the defendant;”

13. the facts of the case are complicated and nuanced, as are the defenses, requiring an
especially “clearheaded” jury: and

14. sequestering the jury or ordering a change in venue after voir dire proves fruitless
and would be costly, ineffective, and delay the administration of justice."'

Each and every one of these salient facts is present here, as summarized for the Court’s

‘convenience in Appendix A (attached hereto). ”

*© See, e.g.. McVeigh, 918 F. Supp. at 1471; Johnson, 337 F. Supp. at 1377-89: Nevers, 990 F. Supp. at 862-64.

” See, e.g.. Moody, 762 F. Supp. at 1488-90; Wansley, 353 F. Supp. at 47-48; Kemp, 778 F.2d at 1538-39;

Abrahams, 453 F. Supp. at 752; Ebens, 654 F. Supp. at 146; Nevers, 990 F. Supp. at 862.

8 See, e. g.. Kemp, 778 F.2d at 1532, 1538 (co-conspirator who pled guilty reported to be “star witness” against

defendant; local media reports in great detail regarding star witnesses" testimony in separate trials of other co-

conspirators before defendant’s trial); Engleman, 489 F. Supp at 51 (“The danger is especially acute when

reporting extends to such matters as confessions or admissions, interviews of prospective witnesses, and

speculation as to testimony or other matters to be introduced at trial.”); id. at 52 (examples of such stories).

* See, e.g., Mazzei. 400 F. Supp. at 20; Marcello, 280 F. Supp. at 515-16: Parr, 17 F.R.D. at 518; Florio, 13

F.R.D. at 298; Hoffa, 205 F. Supp. at 722-23.

*° See, e. g., Williams, 523 F.2d at 1209 (“The task resting upon the members of the jury called for clearheaded

deliberation unencumbered by passion, prejudice, or a confusion of the issues.”).

"| See, e.g, McVeigh, 918 F. Supp. at 1470; Engelman, 489 F. Supp. at 50; Ebens, 654 F. Supp. at 145-46;

Wansley, 353 F. Supp. at 50.

* Conversely, change of venue arguments are typically rejected when the government can establish several of

the following facts, none of which 1s present here:

1. there was very little publicity regarding defendant or his crimes or the amount of publicity was small
compared with the body of news in which it was injected (see, e.g., United States v. Walker, 890 F.
Supp. 954, 959 (D. Kan. 1995)); United States v. Bletterman, 279 F.2d 320, 322 (2d Cir. 1960));
2. there was heavy coverage initially, but less over time, and a significant amount of time lapsed between

an initial spike of publicity and trial (see, e.g., Beck v. Washington, 369 U.S. 541, 556 (1962); Patton v

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Once it decides that a change of venue is necessary, the Court has broad discretion to
transfer the case to any other district in the country it believes can afford a fair trial.’ Courts
consider various factors in selecting an appropriate alternative venue, including whether the jury
pool in the alternative venue has a similar demographic composition; there are daily non-stop
flights between the transferring venue and the alternative venue; and the alternative venue has
modern courthouses equipped to accommodate the case."' As demonstrated below in Section IV
(and summarized in Appendix B), Phoenix, Denver, and Atlanta, among other large metropolitan

areas, meet these criteria.

Yount, 467 U.S, 1025, 1032-35 (1984); Capo, 595 F.2d at 1091);

3. the media coverage was not extensive. emotional, or condemning, but rather “brief. straightforward,
unemotional news” (United States v. Chagra, 669 F.2d 241, 251-52 & n.12 (Sth Cir. 1982); see also
United States vy O'Keefe. 722 F.2d 1175, 1181 (Sth Cir. 1984); Haldeman, 559 F.2d at 61; United
States v. Lindh, 2\2 F. Supp. 2d 541. 549-50 (E.D. Va. 2002));

4, there was prejudicial reporting, but defendant could not show that it piqued community interest or
poisoned the juror pool (see, e g , Mayola, 62 F.2d at 997-99; Busby, 359 F.3d at 726 n.18; United
States v. Smith-Bowman, 76 F.3d 634, 637 (5th Cir. 1996); United States v. Salameh, Case No. $5 93
Cr. 0180 (KTD). 1993 WL 364486, at *1 n.2 (S.D.N.Y. Sept. 15, 1993); see also Huldeman, 559 F.2d
at 60);

5. community attitudes and media coverage were the same, if not worse, elsewhere (see, e.g., Lindh, 212
F. Supp. 2d at 550-51; United States v. Bakker, 925 F.2d 728, 733 (4th Cir. 1991));

6. there is little awareness of an individual defendant compared to the broader scandal or crime of which
he allegedly was a part (see, e.g., United States v. Maldonado-Rivera, 922 F.2d 934, 967 (2d Cir. 1990);
United States v. Malmay, 671 F.2d 869, 875 (5th Cir. 1982)):

7. there are strong favorable attitudes toward defendant to counterbalance negative coverage and
perceptions (see, e.g., United States v. Parker, 877 F.2d 327, 330-31 (5th Cir. 1989); Calley v.
Callaway, 519 F.2d 184, 210 (Sth Cir. 1975); see also Sheppard, 384 U.S. at 340 & n.7);

8. the case is proceeding in a large metropolitan area, and either defendant moves to transfer to a small
non-analogous community or another venue where there is equal prejudice, or the alleged crime—
though well known—did not impact the city as a whole and does not resonate with veniremen (see, e.g.,
Application of Cohn, 332 F.2d 976 (2d Cir. 1964); People v. Manson, 61 Cal. App. 3d 102, 177 (1976);
United States v. North, 713 F. Supp. 1444, 1444 (D.D.C. 1989); Columbia Broad. Sys. v. United States
District Court, 729 F.2d 1174, 1181 (9th Cir. 1984); and

9. the court and counsel spent several days conducting individual voir dire, jury questionnaire forms were
returned, and little evidence of bias ever surfaced (see, e.g., Calley, 519 F.2d at 209; United States v.
Harrelson, 754 F.2d 1153, 1160 (Sth Cir. 1985)).

* See, e.g., McVeigh, 918 F. Supp. at 1470.

* See, e g. McVeigh, 918 F. Supp. at 1474; Tokars, 839 F. Supp. at 1584; Moody, 762 F. Supp at 1490-91.

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II. HOUSTON HAS FAR TOO GREAT A STAKE IN THIS CASE, MAKING IT
IMPOSSIBLE FOR SKILLING TO RECEIVE A FAIR TRIAL.

The Houston community has a unique stake in this case. The impact of Enron's
bankruptcy on Houstonians, unlike residents in any other venue, was felt personally,
emotionally, and economically. The strong feelings of sympathy and pathos that exist in
Houston for Enron’s perceived victims are matched in intensity only by Houstonians’ open
hostility towards Skilling, his co-defendants, and other Enron executives they believe are
responsible. As importantly, the Houston media—unlike their counterparts in any other venue—
has stoked these flames, fueling the furnace of prejudice. As a result, jurors in Houston—and
Houston alone—will feel strong motivation and pressure—indeed, an obligation—to convict
Skilling and his co-defendants regardless of the evidence at trial. No remedy short of a venue
change. including voir dire, sequestration, or an anonymous jury, can stem the risk that prejudice
will subvert this trial.

A. Skilling and His Co-Defendants Have Been Demonized in Houston.

In Houston, Skilling and his co-defendants are widely presumed to be guilty. For
example. in August 2004, the Houston Chronicle (which the Task Force concedes is “the largest
print publication serving the jury pool in this case) named Skilling the “Ultimate Enron

Defendant.”** Just this September, the editors of the Houston Press named him “Best Local Boy

*S Marroso Exs. 28, 30 (Houston Chronicle; 9/9/04 Severance Opposition at 58 n.34). The Chronicle is the
eighth largest daily newspaper in country and serves nearly one-third of occupied households in Houston. See
Armstrong Ex. 15. It is by far the dominant newspaper in all but three of the 13 counties that comprise the
Houston venire. See id. Those three counties where the Chronicle is not dominant have populations of
158,576 (Brazos), 22,181 (Fayette), and 13,362 (Madison); in the other 10 counties, there are 4,637,853
people. See id. Ex. 14. The Chronicle website reports that one advertisement in the Chronicle reaches more
Houston adults than 5 prime-time television or 10 drive-time radio spots. See id. Ex. 22. It also touts that its
website receives “over 25 million page views, on average, per month.” /d. The Houston Press is an
alternative weekly newspaper that reaches 300,000 readers per week. See Armstrong Ex. 21. It is distributed
freely throughout Houston—most prominently in kiosks on city streets. These kiosks display the front-page of
the Houston Press. These front-pages, which are readily seen by those who pass by, have occasionally
featured inflammatory pictures or descriptions of Enron and defendants in this case. See Marroso Exs. 31-32,

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Gone Bad,” describing him as a “horror show” who “jacked ’em up—shareholders, small-fry
workers and anybody else [he] could boost—for a few hundred million” Co-defendant Ken
Lay likewise received the 2004 “Best Local Boy Gone Bad” designation from the readers of the
Press, and was named Texas Monthly's “Bum Steer of the Year” in 2002.*” In United States v.
Tokars, 839 F. Supp. 1578 (N.D. Ga. 1993), where the defendant was the subject of similar local
press awards, including “Best...” “Local Villain.” “Scandal.” and “Over-Hyped Media Event,”
the court transferred venue, finding that “the significance of these bits of cynical humor is that
they assume public awareness and acceptance of . . . guilt.”"* These suggestions of guilt imbue
jurors’ decision making—in conscious and unconscious ways.”

1. Publicity in Houston Has Been Uniquely Inflammatory.

Hostility in the Houston area goes far beyond name-calling and insults. It has deeply
infected the overall tone of local media coverage and contaminated popular perceptions about
Skilling’s defense. In July 2004. the Chronicle stated in no uncertain terms its belief that
Skilling “ginned up increasingly convoluted mechanisms for concealing [Enron's] financial
reality,” essentially proclaiming him guilty.“° In the same story, the Chronicle accused Lay of
relying on “the doofus defense.” and said “Lay's lawyers are among the best in the country.

When their smoke screen clears, they may have succeed in arguing Lay was not guilty by reason

49, 162.

“6 Marroso Ex. 29 (Houston Press).

‘7 Marroso Exs. 29, 33-34 (Houston Press; Texas Monthly).
“8 839 F. Supp. at 1583.

“9 See, ¢.g., United States y. Houlihan, 926 F. Supp. 14, 16-17 (D. Mass. 1996) (“Studies by social scientists
suggest that pretrial publicity affects potential jurors in ways of which they may not be aware, which they may
not be able to articulate. Publicity, even if it is not strictly speaking, inflammatory, which suggests
culpability, . . . directly affects the readers’ perception of guilt, how likely they are to give weight to negative
facts about the defendant at trial, to resolve conflicts in credibility against the defendants.”).

*° Marroso Ex. 35 (Houston Chronicle).

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of ignorance. We all know better.”*!

The Chronicle likewise has publicly rejected Skilling’s explanations for the cause of
Enron’s collapse, positing that Skilling’s “profound shortcomings” led to the bankruptcy, and
concluding “Skilling’s move from the trading room to the corporate tower was the beginning of
the end for Enron.” It also mocked Skilling for saying he had resigned from Enron to spend
time with his family, comparing his explanation to “baring [your] breast” at a Super Bowl and
blaming it on a “wardrobe malfunction.””*’ Yet another article claimed that Enron’s flaws
“flourished” under Skilling, who supposedly “fostered a grow-at-any-cost culture, drowning out

“4 The Chronicle also promoted the

voices of caution and overriding all checks and balances.
existence of a supposed “Skilling fear factor,” citing an Enron attorney as saying, “We'd have to
send marketing people out after [potential business partners] met Jeff to calm them down and
reassure them we were good people.”

When Skilling testified before Congress, the Chronicle reported in a large headline: ‘It’s
kind of hard to believe’ / Ex-Enron workers rip Skilling’s story.°° The lead paragraph asserted
that Skilling was known to be “savvy and detail-oriented.” but “pleaded memory failure and
ignorance” to Congress.*’ The article then criticized his testimony by quoting former Enron
employees who watched it: “He is lying; he knew everything. ... I am getting sicker by the

minute.” “He’s knowledgeable. He’s twisting things around. He’s not answering things

directly.” “I don’t understand how he could be in the position he was in, and say he didn’t know

°' Marroso Ex. 35 (Houston Chronicle) (emphasis added).
*? Marroso Ex. 36-37, 96 (Houston Chronicle).

°° Marroso Exs. 37-39 (Houston Chronicle; Houston Press).
“4 Marroso Ex. 40 (Houston Chronicle).

°° Marroso Ex. 40 (Houston Chronicle).

°° Marroso Ex. 17 (Houston Chronicle).

*T See id.

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what was going on. It’s unbelievable.” 7A companion piece quoted local attorneys: “I’m glad
he’s not my client. What an idiot. He’s in denial.” “It seems inconceivable that the Powers

report, and what everyone else is saying, is wrong, and he is right.” “It’s not credible to say he

knew he left this company in good financial shape. His story was such b.s.”*”

The examples go on and on. Since Enron’s bankruptcy, all of the following (and much,
much more) have appeared in letters, stories, and columns published in the Houston Chronicle:

e = While Skilling was once considered “[b]rilliant, innovative, visionary, driven,” after the
collapse “the adjectives changed: arrogant, insensitive, greedy, devious, irresponsible.”*!

e “Tt must be very sad to be Ken, Jeff, Andrew and a few others. Their reputation will
never be salvaged! In my book they are right up there with child molesters, rapists.
embezzlers, terrorists and the like.”

e “T hope [Skilling] winds up in jail. ... For him to take this approach that he wasn’t
responsible is ludicrous."

e “[T]he average person’s perspective is that he [Skilling] is too smart and too well-
connected not to have known what was going on. Also, stating that no one told him they
“were committing a crime’ shows that he cares more about nimbly skirting the laws
instead of the ethics.°™

e “Thank you Ken, Jeff, and Andy and the others who destroyed a great corporation.””

* “People [say] that someone should go to jail, but I think someone will go to hell.”

e “Ihave lost my entire friggin’ retirement to these people. They have raped all of us.”°”

e “Lay and his henchmen should feel relieved that I won't be in the jury box when they are

58 .
See id.
°° Marroso Ex. 18 (Houston Chronicle).

* Armstrong Decl. 9§ 82-84.
*! Marroso Ex. 2 (Houston Chronicle).

°° Marroso Ex. 9 (Houston Chronicle).

® Marroso Ex. 25 (Houston Chronicle).
* Marroso Ex. 21 (Houston Chronicle).
® Marroso Ex. 41 (Houston Chronicle).
°° Marroso Ex. 42 (Houston Chronicle).
°” Marroso Ex. 43 (Houston Chronicle).

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called to answer for their actions. Driven by greed, lies and insatiable hunger for money,

they ripped off their stockholders for billions and gave their employees half an hour to

get off the property. They deserve everything that is coming to them.”°*

e “Am [angry at Andrew Fastow and Jeff Skilling? ABSOLUTELY!’

e “Iam totally now disgusted by the mere thought of Enron, of Ken Lay and his Mr. Do-
Good image, and of every one in Enron upper management who continue to fail to do the
right thing. To me Enron is now a dirty word. A company that stole money from
investors, profited from the hard work of its employees, and allowed a few to pocket
enormous sums, while sabotaging the lives of many... .””°

e “Ken Lay says he didn’t know. Jeff Skilling says he left the company in great shape.
Others have no recollection of anything having been done wrong. Do they think it might

have been the janitors, at night, when no one else was there?””!

e “J have been just as stunned as everyone else at how the guys upstairs seem to have no

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shame in taking from this legacy of a company to satisfy their own greediness.~

e “I didn’t think they'd actually get to Jeff Skilling. I’m glad they’re indicting him. Maybe
he is innocent, but I don’t think so.”

e Headline: “Lay's World: All Fantasy, All the Time”: “Let’s take a trip inside the fantasy
world that Ken Lay has created in his defense. ... You can’t work that hard to obscure
the truth and then claim to be unaware of it... . In Lay's world, federal prosecutors are
motivated by politics, and I’m just part of the vast ‘media frenzy’ that is “perpetuating
myths’ about a once-great corporation. When it comes to spinning myths, I’m a piker
compared with Lay.”

e “I continue to be offended by Jeffrey Skilling’s weak defense of his poor leadership

skills ... Enron leaders need to recognize that they have played a huge role in this

historical disaster.... We owe it to the children . . . to fully punish poor leaders who

°§ Marroso Ex. 42 (Houston Chronicle).
° Marroso Ex. 44 (Houston Chronicle).
” Marroso Ex. 9 (Houston Chronicle).

” Marroso Ex. 22 (Houston Chronicle).
” Marroso Ex. 9 (Houston Chronicle).

™ Marroso Ex. 45 (Houston Chronicle).
™ Marroso Ex. 37 (Houston Chronicle).

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abuse the system.”””

e Headline: “Plenty of symbols of greed for all”: “Enron was... marred by a group of
scoundrels who have been labeled by some as the Barons of Bankruptcy.””°

e “Ken Lay’s denial of any knowledge of wrongdoing in the Enron debacle (his own
company) was reminiscent of the man who shot his wife eight times and claimed he
didn’t know the gun was loaded.”””

e Headline: “Your Tar and Feathers Ready? Mine Are”: “Ari Fleischer . . . urged
Thursday that the Enron debacle not be turned into a partisan witch hunt. OK, Ari, let’s
make it a bipartisan witch hunt.”

e “Atevery turn, investors who questioned Enron or demanded more information were
shouted down. Jeff Skilling, in particular, preferred epithets to answers.”

e “One person who worked there said Skilling arbitrarily dismissed employees in the early

1990s... . without regard for their performance and qualifications.”®”

e Headline: “The Skilling Indictment / Most Agree: Indictment Overdue.”

These accounts are hardly factual: instead. they “tend to arouse ill will and
vindictiveness.’ And the Chronicle was by no means alone in fueling such feelings.
Inflammatory accusations. articles that prejudge Skilling's guilt, and editorials that incite scorn
are everywhere. Houston Press articles have accused Skilling of “totally blowing smoke” and
being in “never-never land” when he asserted that Enron was a success.*’ It even ran a “perp
walk” fashion critique (calling Skilling “[a] bitter, fraudulent penguin”), and branded Skilling

and Lay “corporate terrorists,” lower in character than the September 11 hijackers:

"> Marroso Ex. 46 (Houston Chronicle).
7° Marroso Ex. | (Houston Chronicle).

™ Marroso Ex. 47 (Houston Chronicle).
”8 Marroso Ex. 48 (Houston Chronicle).
” Marroso Ex. 276 (Houston Chronicle).

%° Marroso Ex. 96 (Houston Chronicle).
8! Marroso Ex. 45 (Houston Chronicle); cf. Sheppard, 384 U.S. at 341 (prejudice found where there was
pressure from the media to indict and convict defendant; citing similar headlines and stories).

®° 2 Keefe, 722 F.2d at 1181,
*} Marroso Ex. 7 (Houston Press, “Sympathy for the Devil”); Marroso Ex. 49 (Houston Press).

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Not having the stuff of suicide bombers, Enron’s executive pilots took full
advantage of golden parachutes to bail out of their high-flying corporate jet after
setting the craft on a course to financial oblivion. In a business time frame, Enron
pancaked faster than the twin towers. CEO Ken Lay and former top execs Jeff
Skilling and Andrew Fastow landed safely at their River Oaks redoubts equipped to
hold out indefinitely and in high style.™*

The Texas Observer published “A Primer on CEO Fraud,” featuring an interview that
called Skilling “unrepentant, and very nasty. The kind that folks love to hate.”*®* It called Enron

39 68

‘a Ponzi scheme.” “a rogue company,” and quipped sarcastically, “[w]hat’s next, a seminar by
Jeff Skilling on business ethics?”*° Skilling, Lay, and other executives were also the subject of
jokes at the Houston Press Club’s annual variety show, which was reported on in the
Chronicle.*’ A posting on a local website (named “Best Blog” in Houston by the Houston Press,
indicating a sizeable Houston following) called Skilling’s “perp walk” a “lovely sight,” “a
birthday present,” then tellingly said, “We'll find out later just what the indictment is about”—
confirming that many people are convinced of Skilling’s guilt despite having no idea what
crimes he is charged with."* The TV-movie ~The Crooked E: The Unshredded Truth About
Enron” overwhelmingly won its time slot in Houston, and called Skilling a “loose cannon,”
implied he was responsible for negligent homicide. and depicted Enron as a place where
everyone aggressively manipulated earnings as the accountants played video games.*” Another
local television station even ran video of the infamous American Taliban John Walker Lindh

during a story on Lay’s departure from Enron.”

8 Marroso Ex. 8 (Houston Press).

® Marroso Exs. 50 (Texas Observer), see also Marroso Ex. 51 (same).
8° Marroso Exs. 52-54 (Texas Observer).

8” Marroso Ex. 55 (Houston Chronicle).

88 Marroso Ex. 10 (Houston Press; www.offthekuff.com).

* Marroso Exs. 56-57 (Houston Chronicle).

© Marroso Ex. 58 (Houston Press).

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2. Prejudgment of Skilling’s Guilt Has Permeated Houston’s Popular Culture.

Nor has the hostility towards Skilling been limited to the local news, business, and
editorial coverage. Anti-Enron and anti-Skilling biases have permeated Houston culture like no
other American city.”! One Chronicle columnist criticized Texas schools for being “[l]ike

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Enron,” “subordinating the mission to the measurement.” Similarly, a Chronicle sports page
article on the NBA Finals began:
If statistics do indeed lie, as the old adage tells us, then Shaquille O’Neal’s are like
former Enron CEO Jeff Skilling in front of a congressional subcommittee. They

tell a good story. They sound convincing—25.7 points, 8.7 rebounds and 60
percent shooting from the field. But that’s not the whole story.”°

A football article said: “If you believe the story about the coach not having anything to do with
the end of Emmitt Smith’s Cowboys career, then you probably believe in other far-fetched

“4 And other sports

concepts. Like Jeff Skilling having nothing to do with Enron’s collapse.
stories reported a team was “shredded like a batch of Enron documents,” a coach “pars[ed] his
words like an Enron executive in front of a Senate committee.” and that the “sham” Olympic
Committee leadership “showed frightening similarities to Enron officers and CEOs.”

Similar references in the Houston media include a music review and a mock interview
with the “Pethouse Pet of the Week,” a dog who said, “I thoroughly enjoy watching those Enron
jerks being led away in handcuffs.”’° Add to this numerous articles in the Chronicle's Lifestyle

and other sections, discussing Lay and Skilling’s homes in River Oaks, Lay’s real estate holdings

in other states, and an “Enron Quiz” question about Causey’s golf club membership—always

*' Anthony Decl. §¥ 18-19, 22.

”? Marroso Ex. 59 (Houston Chronicle).

*? Marroso Ex. 60 (Houston Chronicle).

4 Marroso Ex. 61 (Houston Chronicle).

°° Marroso Exs. 62-67 (Houston Chronicle).

°° Marroso Ex. 68-69 (Houston Press; Houston Chronicle).

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accentuating the suggestion that Lay, Skilling, and Causey are living opulent lifestyles while
Enron’s “victims” suffer.’”

3. Houstonians Have Expressed a Desire for Vengeance.

More importantly still, there exists in the Houston area a strong desire for retribution and
vengeance against Skilling and his co-defendants that exists nowhere else. The Chronicle
reported that Skilling’s picture was being “used as a dart board,” and that a reader had suggested
that Enron executives should face “the old time ‘code of the West."°> Texas Monthly reported
that Skilling was placed alongside Osama bin Laden on “Wanted” posters.” The Houston Press

100
and

quoted a man who cautioned that Skilling and Lav “are wise to take security precautions.”
it was reported in the Houston Business Journal that Lay traveled with armed bodyguards and
had his car guarded by the police!” Especially violent and disturbing imagery comes from a rap
album released by a former Enron employee, who goes by the name “N-Run” and hosts a local
website. The album, profiled in the Chronicle, contains a song entitled “Drop the *S°’ Off
Skilling” that advocates “street justice,” complete with gunshot sound effects:

Skilling, gonna find you / rain. sleet. or snow / there’s nowhere on earth / that you

can go / There's more pipeline boys / all across the land / ready to get you / for the

Enron scam / Consider yourself / a sacrifice / for all the pipeline workers / who gave
their life / .. .. when justice comes around / you gonna get hit... .

N-Run’s gonna get to the heart of the matter / and we won't give a damn when his
blood gets spattered / For everybody out there / who lost a dime / drop a “S” off of

7 See, e. g., Marroso Exs. 229, 256-257 (Houston Chronicle). Even the Houston Business Journal, hardly a
noted source of sensationalism, included a column on possible Enron movies. “Honey, We Shrunk the
Company” featured an “Enron Chairman whose name rhymes with ‘Fay’~ who invents a machine that
“reduces the 401(k) plans of employees to microscopic size” while “his stock portfolio and those of his cronies
are somehow shielded from the downsizing rays.” “Ken and Jeff's Excellent Adventure” feature Ken and Jeff
“whimsically concocting a bunch of loony business partnerships and unwittingly disrupt[ing] future cash flows
for hordes of investors.” Marroso Ex. 70 (Houston Business Journal).

°8 Marroso Exs. 71-72 (Houston Chronicle).

*? Marroso Ex. 73 (Texas Monthly).

'° Marroso Ex. 8 (Houston Press).

101 .
Marroso Ex. 74 (Houston Business Journal).

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Skilling / it’s killing time.”
Another song on the album includes this lyric: “Cooperate America / tell me what you think / I
feel like Lay's ass / should be in the clink / Oh yeah, by the way, we ain't forgot about Skilling /
some of them good old pipeline boys are gonna kill him!

Some of these violent song lyrics—threatening Skilling’s death—were republished in the
Chronicle." In Tokars, a similarly inflammatory song about the defendant was found to be a
“telling piece[] of evidence” that reinforced the inference “that a widespread bias exists which
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could interfere with a fair trial.

4. Recent Surveys Confirm That Hostility Towards Skilling and His Co-Defendants
Has Not Abated Over Time.

This vilifying of Enron and Skilling has saturated Houston and fostered lasting opinions
in its community psyche. In polling conducted just last month by Dr. Anthony. a representative
sample of Houston Division residents were asked “[w]hat words come to mind when you hear
the name Jeff Skilling?” The responses demonstrated extraordinary levels of prejudgment, deep-
seated animus, and disinformation about this case, in stark contrast to the opinions of people in
other judicial districts. Persons in Houston, for example, evinced their predisposition by offering
the following venomous statements (among many, many others):

e “He is the devil. He is a sorry son of a gun who is only out for himself.”
e “Jeff Skilling is an arrogant, conniving, pompous, brilliant crook.”

e “He is a weasel and he is dishonest. The entire time I was watching him on T.V. he

' Marroso Exs. 75-78 (lyrics transcription, Houston Chronicle; Texas Monthly; www.ncunwrekords.com).

'? Marroso Ex. 75 (lyrics transcription).

'4 Marroso Ex. 76 (Houston Chronicle).

5 See, é.g., Tokars, 839 F. Supp. at 1583-82 (citing song and noting: “Using a quantitative approach, the court
agrees with the Magistrate Judge that the great bulk of the pretrial publicity in this case is factual, i.e., not
inflammatory in nature. However, combining the extraordinary volume of coverage (virtually all of which is
highly negative to the Defendants) with the emotional nature of some of the coverage, one may infer that a
widespread bias exists which could interfere with a fair trial. Two telling pieces of evidence before the court
tend to reinforce this inference [the song and articles referring to defendant as Best Local Villain].”).

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looked like he was lying. He looked like he knew about everything that was going on.”

e “[UJnscrupulous, despicable and deceiving. He and others were principal in the demise
of Enron.”

e “Deceitful, manipulative, smart, amoral... .”

e “They should prosecute him to the fullest, they kn[e]w what was going on and should get
as much time in the penitentiary as possible.”

e “Cheat. Liar. Thief. ... He needs to pay the price for what he did.”

e “I think he was a manipulator, the manipulator who affected the entire company profits
for his own gain, for money.”

e “I think he was the mastermind. ...He knew who was involved with Fastow.”

e “Jeff Skilling should be in jail for 20 years. I think the executives deserve to lose
whatever financial gain they received and it should be given to the employees that
worked all those years to earn it.”

e “Jeff Skilling is a bastard.”

e “Jeff Skilling is a scoundrel. He should be held accountable for his crimes.”

e ‘[G]reedy and greedy crook. Guilty comes to mind because | feel that he did what he did
and that deprived elderly people of their pensions. ... Hurting that many elderly people
so severely is, I feel, the equivalent of being an axe murderer... . If I were on the jury. I
would send him to jail because he is so guilty.”

~ tat * . +106
¢ “In my opinion, guilty as sin”

Houston area residents displayed a demonstrably more hostile attitude toward Skilling
than did potential jurors in other venues like Phoenix (District of Arizona), Denver (District of
Colorado), and Atlanta (Northern District of Georgia). Roughly one in three Houston
respondents (31.8%) used negative statements to describe Skilling. This was more than three
times as many as in Phoenix (9.0%), approximately three times as in Denver (11.0%), and more

than twice as in Atlanta (13.2%).'°’ Houstonians also used more words—and more “angry”

106 Anthony Ex. 3 at Houston Response Nos. 15, 18, 32, 43, 52, 55, 85, 117, 124, 129, 131, 151, 156, 245.
'7 Anthony Decl. 4 12, 16-18, 42.

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words—than their peers in other venues.'°8 In addition, when asked to name all the Enron
executives whom they believe to be guilty of crimes, without any prompting with a list of names,
Houston respondents were over five times more likely to identify Skilling specifically.!”
Respondents in Phoenix, Denver, and Atlanta as a group were several times more likely nor to
know Skilling at all.

The fervent and pervasive demonization of Skilling and his co-defendants in the Houston
area is irrefutable proof that a venue transfer is necessary to ensure a fair trial. But further proof
can be found by examining the extensive roots of this hostility. As Sections B through E
demonstrate. Houston has deep emotional. economic. and psychological connections to Enron
that simply do not exist in other venues. While Enron’s bankruptcy may have had some national
impact, Houstonians—more so than anyone else—viewed that event as a predominantly /ocal
tragedy. Enron’s failure was not Just a story about business or finance; it was a powerful and
traumatic event that continues to have profound and lasting effects in Houston. As a result,
Houstonians are looking for villains, and have overwhelmingly, passionately—and wrongly—
cast Skilling and his co-defendants in that role.

B. Enron’s Rise and Fall Had a Special Symbolic and Cultural Importance for
Houston and Its Surrounding Communities.

When Enron’s remarkable rise and fall is viewed in its social and historical context, one
of the causes of the emotionally charged atmosphere in Houston immediately becomes clear.
People in Houston feel betrayed. In a few short weeks, Enron went from the city’s most
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preeminent corporate citizen to its biggest source of embarrassment, anger, and shame.!

Against this backdrop, it is impossible for Skilling, Lay, and Causey to receive a fair trial here.

108 .
See id.

' Anthony Decl. 9 12, 14, 38-39.

0 See generally Klineberg Decl. €¥ 8-15.

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Unlike the other Enron defendants, these men remain the personification of Enron, the
company’s highest officials. The blame for Enron’s betrayal is thus laid at their feet.

I. Both Symbolically and Financially, Enron Was Houston’s Most Important
Company.

In Houston, Enron was more than just another company. It was an “icon,” a corporate
“darling,” a “pillar[] of Houston’s economy and business leadership” that “enhanced the city’s
image and stature.”''' Enron “was the most important company in the city, without any
question,”''” because it was the “symbol of a renewed Houston, roaring back from the Oil Bust”;
“at the center of Houston's sense of positioning itself for success in the post-oil age”; and proved
that the city could be liberated from “more than 20 years [of] swelling and suffering at the

AB . . .
'l3 Enron’s new office tower was the first built downtown in over a

caprices of the oi! market.”
decade. It was an emblem of “Houston’s biggest company’s new-century dominance,” complete
with a 50,000 square-foot trading floor that was “a single-company answer to the Chicago Board
of Trade.”''! In the words of one employee. “[t]he word on the street was [Enron] was the best
company to work for.... [A]ny time I went somewhere it was, “Oh, God. you work for Enron?
Can I give you my resume?’ People admired us, they envied us.”''> University of Houston
historian Joseph Pratt described Enron as the kind of company in which “we placed our hopes for

the future: where we wanted to work, where we wanted to invest, where we thought the Houston

economy would go.” '© Certainly, Houston was home to many successful businesses in the

NY Marroso Exs. 79-80, 119 (Houston Chronicle, National Public Radio, Christian Science Monitor).

''2 Marroso Ex. 80 (National Public Radio); see also Klineberg Decl. (¥ 11-13.

"13 Marroso Exs. 81-83 (Houston Chronicle; Los Angeles Times; Globe and Mail (Toronto)); see also
Klineberg Decl. {J 10-12.

'l4 Marroso Exs. 81 , 84-85 (Houston Chronicle, The Economist).
''S Marroso Ex. 82 (Los Angeles Times).
"© Marroso Ex. 84 (Houston Chronicle).

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1990s. But “psychologically, symbolically, Enron had no equal.”! 7

As a result, Enron’s top executives were “revered,” with almost “rock-star status” in

99, 66

Houston.!!® Skilling was approached in public “like a celebrity”; “[o]ut of nowhere people

would come up to him and tell him how great he was... . He was a god, and Lay was king.”!'°

99 Ge

Lay, in particular, drew extraordinary praise: He was called a “legend,” “‘a giant in this town,”
“a political and philanthropic force mentioned for years as a potential mayoral candidate,” “the
master of the universe” who was quickly becoming a “somewhat mythical force” rivaling “the
likes of Jesse Jones and Ben Love as men who could change the course of the city.”""? Enron
also supported a wide variety of charitable causes and organizations, prompting one local
reverend to note that “there's not a segment of this community that Enron hasn't touched.”"*!
The Houston Chronicle was at the forefront of boosting Enron and its executives. For
example, between January | and August 14, 2001, when Skilling resigned as CEO, the Chronicle
ran 27 stories mentioning Skilling, almost one per week, compared to a grand total of three
stories in the Aflanta Journal-Constitution, Arizona Republic, Denver Post and Rocky Mountain
News combined.” The contrast in number of stories is only outdone by the contrast in content.

In 2001 alone, the Chronicle:

e Reported that the Texas eComm Association had honored Skilling for his tremendous
“contributions to the state’s Internet economy”;

e Touted Skilling's membership on the “luminous” Greater Houston Community
Foundation, which manages and assures proper usage of various community funds;

e Covered Skilling’s announcement that Enron donated $1 million for scholarships to

"7 Marroso Ex. 82 (Los Angeles Times).

"8 Marroso Ex. 12 (www.salon.com).

9 See id.

20 Marroso Exs. 9, 86-88 (Houston Chronicle; The Guardian (London)).

'21 Marroso Ex. 88 (The Guardian (London)); see also Klineberg Decl. § 13.

122 Armstrong Ex. 14.

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Houston area high school students;

e Observed that Skilling had transformed Enron from a “stodgy” company into a market
“player” that “keeps raising [the] bar,” and that Skilling’s “revolutionary” management
philosophy allowed Enron and its thousands of Houston employees to flourish;

e Named Skilling four times in 950-word article headlined “Energy Giants Have a Season
to Remember”;

e Identified Skilling as one of the “100 Who’s Who” of Houston; and

e = Likened Skilling and Lay to the exalted. saying their new offices will “hover above.

giving the chieftains a heavenly view of their realm.”'”°

As a result of their place in Houston society, both Enron and its high executives were sources of
civic pride. Enron was an integral part of “Houston's development and sense of self.”'"* As Dr.
Klineberg explains in his declaration, in Houston, “opposing Enron was a little like being against
the city itself.“'?*

2. Enron’s Bankruptcy Was Perceived as a Betrayal of the Houston Community and
a Stain on Its Reputation.

In the wake of Enron’s bankruptcy, however. Dr. Klineberg says that precisely the
opposite is true. Now, to be with Enron or with its executives is to be against Houston.'7° For
Houston, Enron's bankruptcy was much more than a financial collapse—it was a “horrible
betrayal of the city.”'*’ Out of nowhere, “the pride of the town, the greatest example of what a
business could do in Houston, woke up dead.””'”® In no time, there was a deepening public

perception that Enron’s promise of a New Houston was a sham all along—a hoax based on

'3 Marroso Exs. 89-96 (Houston Chronicle). See also Armstrong Decl. 4] 18-19.
'4 Marroso Ex. 83 (Globe and Mail (Toronto)); see also Klineberg Decl. 13.
25 Klineberg Decl. { 13.

'° Klineberg Decl. ¥ 14.
"7 Marroso Exs. 12, 82, 277 (Los Angeles Times; www.salon.com; Atlanta Journal-Constitution); see also
Klineberg Decl. 9] 14, 17.

'°8 Marroso Ex. 97 (New York Times).

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“ohony profits and concealed billions in debt.” '’’ “Facade. Lies. House of cards. Those words
are sounding all over Houston,”!?° Skilling, Lay, Causey, and other Enron executives went from
being hailed as “corporate geniuses” to being denounced as corporate “crooks.”"?! The company
that was once a source of pride for Houstonians became a source of humiliation, embarrassment,
and disgrace. It was “as if something of the city’s very image of itself [had] been found
fraudulent.”!??

Enron became a black mark on Houston. Enron’s empty tower, which looms over the
federal courthouse, is now considered a “testament to the hubris that led to Enron’s downfall”—a
permanent reminder of how the city was allegedly “fooled by a benefactor.”'** Its 50th floor.
which at one time housed Skilling, Lay. Causey. and the other top executives, “once inspired
awe [but] now provokes disgust and anger.” 4 Employee letters published in the Chronicle
speculated that the company was “all smoke and mirrors,” and remarked “I never thought the day
would come that I was ashamed to say I “worked’ at Enron.”!*> Even people “who had no
connection to the company say they are ashamed of its behavior,” and feel that “the city’s
reputation has been bruised.”'?° When one former worker stood on the side of a Houston road
holding a sign that read “Ex-Enron employee .... Seeking a company with integrity,” complete

strangers “broke into grins, slapped staccato toots from their horns, [and] thrust their thumbs

skyward.”'>” Prominent local businessman James “Mattress Mac” McIngvale summarized the

29 See id.

'3° Marroso Ex. 82 (Los Angeles Times).

3! Marroso Ex. 98 (Houston Press).

"32 Marroso Ex. 12 (www.salon.com).

'33 Marroso Exs. 82, 84 (Houston Chronicle, Los Angeles Times).

Marroso Ex. 41 (Houston Chronicle).

Marroso Ex. 9, 41 (Houston Chronicle).

'36 Marroso Ex. 82 (Los Angeles Times), see also Marroso Ex. 99 (Financial Times (London)).
7 Marroso Ex. 82 (Los Angeles Times).

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prevailing mood: “This thing with Enron makes me furious .... They've hoodwinked the entire

~158 Although Mattress Mac had no ties to Enron, his reaction, like that of all Houstonians,

city.
was “personal”—“almost as if he himself had been cheated.”'*? These kinds of visceral and
deep-seated reactions underscore why Houston jurors cannot be impartial.

Perhaps the most public example of the mindset of Enron as an anathema was the
renaming of Enron Field, home to the Houston Astros. When the stadium opened in 2000. Enron
agreed to pay $100 million over 30 years for the naming rights; Lay even threw out the first pitch
at the inaugural game. 0 After Enron’s bankruptcy, however, the Astros paid Enron $2.1
million to reclaim the name of their ballpark.!"" In legal briefs, the team argued that “Houston
and its residents were all tainted” by the collapse. and that being associated with Enron
“tarnished the reputation” of the team, was a “notorious and harmful affiliation,” and left the

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* The team

Astros “burdened with considerable baggage” and “a public relations nightmare.
received daily barrages of phone calls and feared losing fans and corporate sponsors who wanted
to distance themselves from the Enron name.'*? Even the players called Enron Field “a black-
eye statement.” and a local sports radio host said that anything is better “than having your name
associated with the most embarrassing, disgusting and revolting bankruptcy in United States
history.”!"4

Yet while the Astros could attempt to disassociate themselves from Enron, Houston and

its surrounding communities cannot. To this day. many Houstonians feel stigmatized by Enron’s

8 See id.

'89 Marroso Ex. 97 (New York Times) (emphasis added).

'° Marroso Exs. 87, 100 (Houston Chronicle).

‘4! Marroso Ex. 100 (Houston Chronicle).

'® Marroso Exs. 101-102 (Houston Astros legal brief; Houston Business Journal).

Marroso Exs. 82, 101 (Houston Astros legal brief; Los Angeles Times) (“If they leave Enron Field named
Enron Field this year, [’m not going to a single game. [ don’t care if theyre paid up or not.”).

'44 Marroso Exs. 103-104 (Houston Chronicle website: www.abc13.com).

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collapse. A recent Houston Chronicle online poll asked: “These days outsiders know Houston
best for___?”_~ As of late October, “the Enron scandal” was overwhelmingly the top choice, by a
margin of 64% to 16% over second-place “NASA.”'** The Enron tower has even become a grim
tourist attraction. It is mentioned as a point of interest on city tours, and the Houston Press told
Super Bow! sightseers, “You can’t visit Houston without stopping by the Enron building.”'"°
Enron thus remains a symbol of Houston, but for all the wrong reasons. “[I]t tarnishes
the entire city, it plays on the psyche .... They were so connected. People go. ‘Oh, yeah.

Enron, that’s Houston.’”!*”

In September 2002, Texas Monthly asked: “Is there a single image
that says ‘Houston’? How about the Houston skyline with a red X through the Enron building?”
In another story, it opined. “Not since the Kennedy assassination has a Texas city been so
identified with such a devastating event with such far-ranging consequences.”!"* To this day. in
this community, “the Enron story continues to enthrall ... mostly because it is such a Houston
story.”'” Prospective jurors could not help but be influenced-—consciously or unconsciously—
by the perceived stain Enron left on their community and by their collective feelings of betrayal

and anger expressed at every turn.

3, Courts Have Found Venue Transfers to Be Necessary Where, as Here, the
Alleged Crime Has Become Closely Associated With the Community.

In cases like this one, where the alleged crimes have become so closely identified with a
particular community, its well being, or a violation of its trust, courts find venue transfers to be

appropriate. if not mandated:

'S Marroso Ex. 105 (Houston Chronicle website).

'46 Marroso Exs. 84, 106-109 (Houston Chronicle, Houston Press, San Antonio Express-News; websites).
'§7 Marroso Ex. 82 (Los Angeles Times).

Marroso Exs, 13, 110 (Texas Monthly); see also Marroso Ex. 124 (Houston Press).

' Marroso Ex. 73 (Texas Monthly); see also Marroso Ex. 111 (Houston Chronicle) (Houston is “the most
important character of all” in Enron book).

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e In United States vy. McVeigh, 918 F. Supp. 1467, 1470-74 (W.D. Okla. 1996), Judge
Matsch transferred the Oklahoma City bombing case to Denver because Oklahomans
came to see the bombing as an event that affected not only those injured or killed, but
Oklahoma City and the State of Oklahoma as a whole.

e InJohnson v. Beto, 337 F. Supp. 1371, 1376-79 (S.D. Tex. 1972), an African-American
civil-rights leader in Houston was publicly associated with racial unrest in the city. After
he was convicted and sentenced to 30 years in prison for a minor, non-violent drug
offense, his conviction was overturned because city-wide pressures to convict and
drastically punish him had obviously infected his trial.

e In United States v. Mazzei, 400 F. Supp. 17, 18, 20 (W.D. Pa. 1975), defendant was on
trial in Pittsburg for extortion “on a charge that he, as a state senator, extorted funds
under color of office.” The court transferred his case to Delaware given the “state-wide”
perception that he had violated the public’s trust.

e In Wansley v. Miller, 353 F. Supp. 42, 46-52 (E.D. Va. 1973), local media convinced the
people of Virginia town that defendant was a rapist, a threat to the community, and
needed to be punished. Ilis conviction was vacated because the venue in which he was
tried had been overrun by prejudicial emotions.

e In Nevers v. Ellinger, 990 F. Supp. 844, 861-64 (E.D. Mich. 1997). the city of Detroit
became convinced that. unless two policemen defendants were found guilty for
murdering a suspect, race riots like those following the Rodney King acquittals in Los
Angeles would ensue. The trial court’s failure to transfer was held to be manifest error.

e In United States v. Hoffa, 205 F. Supp. 710, 722 (1962), financial transactions that were
put at issue in defendant's indictment were also the subject of civil lawsuits between
defendant’s union and officers of a local bank, who “were very prominent citizens” in the
Orlando venue. To make certain the case was tried “in a locality which is free from
prejudice,” the court transferred the criminal case to Tampa. Here, of course, numerous
civil lawsuits have been filed in Houston by the citizens and businesses of Houston
against Skilling, Causey, and Lay.

e In United States v. Florio, 13 F.R.D. 296, 297-99 (S.D.N.Y. 1952), the district court
transferred venue in a racketeering case from New York City to Washington. The case

implicated “conditions on the New York waterfront,” which were of a “peculiarly local

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interest” to New Yorkers. When an avalanche of publicity regarding the trial reached the
public on the day jury selection began—as can no doubt be expected here—the court

transferred the case to another metropolitan venue where public attention would be far

less intense.!*°

In the Lea Fastow case, the court initially denied Ms. Fastow’s change of venue motion,
citing the fact, among others, that few Enron-related stories in the Chronicle or elsewhere
mentioned her by name.!*! Soon after issuing this ruling, however, the court reversed its position
and ordered an intra-district transfer of the case to Brownsville. The reason: Ms. Fastow was
reported in the Chronicle to have entered into a plea agreement, but suddenly backed out of the
agreement in open court. Given the publicity surrounding Enron generally and Ms. Fastow’s
plea in particular, the court anticipated “additional media prejudice” would be “newly
generated.” and rather than rely solely on careful voir dire, as was the original plan, sua sponte
transferred the case.'*”

In these and other cases, courts closely examined community sentiments and recent
history and tried to understand how the trial of the accused fit into the context of both.'°? That
same searching inquiry is required here and leads to the same conclusion: Houston has too great

a stake in this case to be a fair venue for Skilling’s trial.

'? See also Armstrong {f 85-92 (discussing media coverage of Nigerian Barges case).

'S' See United States v. Lea Fastow, 292 F. Supp. 2d 914, 918 (S.D. Tex. 2003).

'? Marroso Ex. 112 at 14:4-15:5 (hearing transcript); cf Abrahams, 466 F. Supp. at 555 (transferring case of
alleged “linchpin” of conspiracy from Boston to Phoenix; transferring smaller players’ case to Springfield,
Mass.). Andrew Fastow also filed a venue motion, which was argued December 16, 2003. See id. Ex. 113
(hearing transcript). Mr. Fastow pled guilty before the court ruled on his motion. The EBS defendants moved
for venue change as well, and a poll they took purports to show that 81.4% of potential jurors in Houston
believe Enron executives are guilty. See id. Ex. 114 (moving papers; Austin (71.9%), Corpus Christi (67.9%),
Albuquerque (71.1%)). That motion is under submission. Defendants in the Nigerian Barge case did not
move to transfer venue.

'° See, e.g, Coleman, 778 F.2d at 1538-39 (rural Georgia community shocked by murder of family;
conviction reversed), Maad, 2003 WL 22098002, at *1 (Anchorage community betrayed by perpetrator fraud
that played off the emotions surrounding the September 11 attacks; conviction reversed).

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C, Enron’s Bankruptcy Had Serious Economic Effects on the Economy of the
Houston Area.

In addition to social and psychological effects, Enron’s bankruptcy also had serious
economic effects on the Houston community. The losses were much greater, and much more
personal, than in other venues. Although the nation at large was affected through the stock
market and other macroeconomic forces, many Houstonians—and their families, friends, and
neighbors—lost their jobs, their savings, or a critical source of revenue for their business or
charity. Enron’s bankruptcy was a catastrophe that affected everyday life in Houston. Enduring
an experience of this magnitude has shaped community perceptions and opinions against Skilling
in this case.

The economic effects were felt in many different ways. Most obviously. on the day the
Chronicle refers to as “Black Monday.” over 4,000 of the 7,500 Enron employees based in
Houston lost their jobs.’ Hundreds more were laid off in the months that followed. for a total
of 4,700.'°° Many of the employees also lost significant portions of their retirement funds.

But the economic impacts of the bankruptcy went far beyond Enron employees. The
ripple effect extended throughout Houston, touching virtually every sector of the local economy.
Arthur Andersen laid off 1,600 workers in its Houston offices.'°° Vinson & Elkins, the city’s
largest law firm, lost 9.5% of its business between 2001 and 2002, and even began to jettison
partners amid concerns that clients would “fear being associated with the taint of Enron.”!*”
Other energy companies that had followed in Enron’s footsteps were left with massive credit

exposure. According to the Houston Business Journal, Enron owed $100 million to Duke

Energy, $80 million to Reliant Resources, $70 million to Dynegy, and $50 million to El Paso at

'4 Marroso Exs. 71, 174 (Houston Chronicle).
'5 Marroso Ex. 115 (Houston Chronicle); see also Marroso Ex. 278 (Houston Chronicle).
'86 Marroso Ex. 116 (Houston Chronicle).

'S? Marroso Ex. 117 (Houston Chronicle).

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the time of the bankruptcy.'°* The entire energy trading industry suffered a serious downturn,
and some companies were forced to lay off hundreds of their own Houston employees.!*’
Enron’s dramatic downsizing affected virtually every Houston market. The company’s
employees emptied office spaces that were “roughly equivalent to a 30-story building,” and there
was suddenly no need for the 1.2 million square feet in its brand new skyscraper.'® The vacancy
rate for downtown “Class A” office space in Houston rose from 2% to 10% by the end of 2002,
putting pressure on landlords to “slash rents and make concessions to keep their corporate

+161
tenants.” '®

One commercial real estate company cited Enron's collapse as the reason for
canceling a planned 34-story office, apartment, and shopping complex across from Enron
Field.’ Hotel vacancies also increased. Enron was one of Houston’s most “important hotel
demand generators for the past decade,” accounting for an estimated 15,000 to 20,000 room
nights per year in corporate travel.'** Through May 2002, the occupancy rate for the downtown
hotel market was down 9% from the same period a year before.“ The occupancy losses were
then compounded as they flowed through to other hotel revenue streams, such as restaurants,
lounges, banquets, and retail outlets.'*

The crunch was also felt by Houston's small business community. Lunchtime sales at

nearby restaurants declined. Two eateries reported drops of 40%; another lost “dozens” of

Enron-related weekday dinners and two Enron Christmas parties.'°° A local locksmith company

'58 Marroso Ex. 74 (Houston Business Journal).

'59 Marroso Exs. 84, 120-121 (Houston Chronicle).

‘©? Marroso Exs. 120, 122-123 (Houston Chronicle).

'6! Marroso Exs. 120, 123 (Houston Chronicle).

162 Marroso Exs. 125-126 (Houston Chronicle, New York Times).
'©3 Marroso Ex. 127 (Houston Chronicle).

't Marroso Exs. 120, 128 (Houston Chronicle),

'®5 Marroso Ex. 127 (Houston Chronicle).

'6 Marroso Exs. 115, 122, 129 (Houston Chronicle, USA Today).

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